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12                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
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14
     ANGEL DE JESUS ZEPEDA RIVAS,                         Case No. 3:20-CV-02731-VC
15   BRENDA RUBI RUIZ TOVAR, LAWRENCE
     KURIA MWAURA, LUCIANO GONZALO
16   MENDOZA JERONIMO, CORAIMA
     YARITZA SANCHEZ NUÑEZ, JAVIER                        DECLARATION OF FRANCISCO M. UNGER
17   ALFARO, DUNG TUAN DANG,                              IN SUPPORT OF PETITIONERS-PLAINTIFFS’
                                                          MOTION FOR TEMPORARY RESTRAINING
18                     Petitioners-Plaintiffs,            ORDER
19          v.
20   DAVID JENNINGS, Acting Director of the
     San Francisco Field Office of U.S. Immigration
21   and Customs Enforcement; MATTHEW T.
     ALBENCE, Deputy Director and Senior
22   Official Performing the Duties of the Director
     of the U.S. Immigration and Customs
23   Enforcement; U.S. IMMIGRATION AND
     CUSTOMS ENFORCEMENT; GEO GROUP,
24   INC.; NATHAN ALLEN, Warden of Mesa
     Verde Detention Facility,
25
                       Respondents-Defendants.
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                                                                  DECLARATION OF FRANCISCO M. UNGER
                                                      1            ISO OF PLAINTIFFS’ MOTION FOR TRO
                                                                           CASE NO. 3:20-CV-02731-VC
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                                                  DECLARATION OF FRANCISCO M. UNGER
                                         2         ISO OF PLAINTIFFS’ MOTION FOR TRO
                                                           CASE NO. 3:20-CV-02731-VC
 1          I, Francisco M. Unger, declare as follows:

 2          1.      I am an associate with the law firm of Cooley LLP, co-counsel of record in the

 3   above-captioned matter for named Plaintiffs and the provisional Class. I have knowledge of the

 4   following, and if called as a witness, I could and would testify competently thereto.

 5          2.      Attached hereto are the following true and correct copies of the following documents

 6   produced by defendant GEO Group, Inc. in response to a request for production of documents

 7   served by Plaintiffs:

 8

 9      Exhibit                                Document Description
                    Email from Nathan Allen to Cheryl Nelson and Paul Laird, dated June 4,
10         A
                    2020. (GEO_07064).
11
           B        Email from Nathan Allen to Cheryl Nelson, dated July 1, 2020. (GEO_07202).
12
           C        Department of Homeland Security survey, dated April 10, 2020. (GEO_00003).
13
           D        Email from Nathan Allen to Alexander Pham, dated June 4, 2020. (GEO_01052).
14
           E        Email from Nathan Allen to Paul Laird and Cheryl Nelson, dated July 2, 2020.
15
                    (GEO_06391).
16
           F        Email from Paul Laird to Nathan Allen, dated June 25, 2020. (GEO_08822).
17
           G        Email from Brooke Sanchez-Othon to Janese Mull and Nathan Allen, dated July
18
                    6, 2020. (GEO_06238).
19
           H        Email from Nathan Allen to Cheryl Nelson, dated May 26, 2020. (GEO_06450).
20

21          I declare under penalty of perjury under the laws of the United States that the foregoing is
22   true and correct.
23          Executed on August 3, 2020 in Cambridge, Massachusetts.
24
                                                  /s/ Francisco M. Unger
25                                                Francisco M. Unger

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28
                                                                    DECLARATION OF FRANCISCO M. UNGER
                                                      3              ISO OF PLAINTIFFS’ MOTION FOR TRO
                                                                             CASE NO. 3:20-CV-02731-VC
